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                        UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                Richmond Division

CARMEN TRIANA,

                      Plaintiff,

v.                                           Civil Action No. 3:21-cv-202-MHL

CAPITAL ONE BANK (USA), N.A.,

                      Defendants.


                                   STIPULATION OF DISMISSAL

        COMES NOW, the Plaintiff, Carmen Triana, by counsel, together with Capital One Bank

(USA), N.A., by counsel and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) hereby STIPULATE to

dismissal of the action with prejudice. The court shall retain jurisdiction for purposes of

enforcement of the settlement pursuant to Kokkonen v. Guardian Life Ins., 511 U.S. 375 (1994).

        It is so STIPULATED.

                                            Respectfully submitted,
                                            CARMEN TRIANA,

                                            By:____/s/______________________
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                                            __________/s/_______________
                                            Susan Rotkis


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                                 CERTIFICATE OF SERVICE


        I hereby certify that on June 2, 2021 I electronically filed the foregoing with the Clerk of

the Court using the ECF system, which will send notice of such filing to all attorneys of record

in this matter.

                                              __________/s/_______________
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